 Case 8:15-cv-01146-DOC-JCG Document 36 Filed 06/17/16 Page 1 of 1 Page ID #:103




                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                  CASENUMBER

     Trazell
                                                                        8:15-cv-01146-DOC-JCG
                                               Plaintiff(s)
                               v.

     Experian Information Solutions, Inc.                                     MEDIATION REPORT

                                               Defendant(s).

Instructions: The mediator must file this Report within 5 days after the conclusionof a mediation
session even if the negotiationscontinue. If the caselater settles with the assistanceof the mediator,
the mediator mustfile a subsequentReport.
1.        D    A mediation was held on (date):

          D
          X    A media tion did not take place because the case settled before the session occurred.

2.        The individu al parties and their respective trial counsel, designated corporate representatives, and/or
          representativ es of the party's insurer:
                  D   Appeared as required by Civil L.R. 16-15.S(b).
                  D   Did not appear as required by Civil L.R. 16-15.S(b).
                           D     Plaint iff or plaintiffs representative failed to appear.
                           D     Defendant or defendant's representative failed to appear.
                           D     Other :

3.        Did the case settle?
                  D   Yes, fully, on                          (date).
                  D   Yes, partially, and further facilitated discussions are expected. (SeeNo. 4 below.)
                  D   Yes, partially, and further facilitated discussions are not expected.
                  D   No, and further facilitated discussions are expected. (SeeNo. 4 below.)
                  D   No, and further facilitated discussions are not expected.

4.        If further facilitated discussions are expected, by what date will you check in with the parties?


Dated :     06/17/16
                                                                               Signature of Mediator
                                                                                Lan Nguyen
                                                                               Name of Mediator (print)
The Mediator is to electronically file original document.

ADR-03 (01/14)                                      MEDIATION REPORT                                          Page 1 of 1
